                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION


IN RE:                                            Chapter 13

JENNIFER WALTERS,                                 Bk. No. 18-82776-CRJ-13

           Debtor.


JENNIFER WALTERS,                                 Adv. Case No. 19-80014-CRJ

            Plaintiff,

v.

EMERGENCY MEDICAL ASSOCIATES

            Defendant.


           DEFENDANT EMERGENCY MEDICAL ASSOCIATES’ ANSWER
              AND AFFIRMATIVE DEFENSES TO THE PLAINTIFF’S
                        ADVERSARIAL COMPLAINT

       Defendant, Emergency Medical Associates (“EMA” or “Defendant”), by its

counsel, in answer to Plaintiff's Adversary Complaint (“Complaint”; Doc No. 1), states as

follows:


                                           COMPLAINT

       No response is required to Plaintiff’s opening paragraph.

                             Parties, Jurisdiction, and Nature of Action

       1.        Admitted.

       2.        No response is required to the allegations contained in Paragraph 2 because the

schedules speak for themselves.

       3.        Denied as stated.



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       4.     The allegations of this paragraph contain conclusions of law to which no response

is required. To the extent an answer is required, denied.
        5.    Admitted.


                          Claim — Violation of the Automatic Stay
       6.     EMA repeats each and every response to the preceding paragraphs as if set forth

more fully herein.

       7.     No response is required to the allegations contained in Paragraph 7 because the

schedules speak for themselves.

       8.     Denied.

       9.     The allegations of this paragraph contain conclusions of law to which no response

is required. EMA denies that it had knowledge of Plaintiff’s bankruptcy filing.

       10.    Denied. EMA is without sufficient knowledge or information to form a belief or

opinion as to the truth or veracity of these allegations; therefore, EMA leaves the Plaintiff to her

proofs at trial. EMA further denies that its conduct was the proximate cause of any injury or

damage to the Plaintiff and further deny that the Plaintiff’s damages are as alleged in the

complaint. By way of further response, the allegations of this paragraph contain conclusions of

law to which no response is required. By way of further response, Exhibit 1 and Exhibit 2 to the

Complaint are documents the contents of which speak for themselves.

       11.    Denied. The allegations of this paragraph contain conclusions of law to which no

response is required.

       12.    Denied. The allegations of this paragraph contain conclusions of law to which no

response is required. To the extent an answer is required, denied. EMA further denies that its

conduct was the proximate cause of any injury or damage to the Plaintiff and further deny that

the Plaintiff’s damages are as alleged in the complaint.


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       13.     Denied. The allegations of this paragraph contain conclusions of law to which no

response is required. EMA further specifically denies that it has “contempt and disdain for this

court” as alleged by Plaintiff.

       14.     Denied. The allegations of this paragraph contain conclusions of law to which no

response is required.

       WHEREFORE, EMA requests that this Honorable Court award judgment in favor of

Emergency Medical Associates, and against Plaintiff, together with costs, attorneys' fees and

such other relief as this Honorable Court deems appropriate.

                                  AFFIRMATIVE DEFENSES
       Upon information and belief and subject to further investigation and discovery,

Emergency Medical Associates alleges the following defenses without assuming the burden of

proof where such burden is otherwise on the Plaintiff:

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE
       Plaintiff has suffered no actual damages as a result of Emergency Medical Associates’

alleged conduct.

                                  THIRD AFFIRMATIVE DEFENSE

       Any damage to Plaintiff, which Emergency Medical Associates denies, is due to the

acts or omissions of Plaintiff and/or third parties and Emergency Medical Associates is

not liable for said acts, omissions or alleged damages.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff's claims are barred by the doctrine of res judicata and equitable

principles of claim and issue preclusion.

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                             FIFTH AFFIRMATIVE DEFENSE

       Some or all of Plaintiff's claims alleged in the Complaint are barred by the

applicable statute of limitations.


                            SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims of physical injury are barred by the principles of Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its prodigy. EMA demands

strict medical proof of Plaintiff’s claims of medical injury.

                          SEVENTH AFFIRMATIVE DEFENSE

       The actions of the Defendant that were taken were not willful as the Defendant did

not have actual knowledge of the filing of the bankruptcy prior to the communication s that

were allegedly sent.

                           EIGHTH AFFIRMATIVE DEFENSE

       Emergency Medical Associates, LLC reserve the right to assert additional defenses

upon further particularization of Plaintiff's claims and upon discovery of further

information concerning Plaintiff's alleged claim and upon the development of other

pertinent information.


       Respectfully submitted, this the 18th day of July 2019.



                                                   /s/Tracy A. Marion
                                                   Tracy A. Marion
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                               CERTIFICATE OF SERVICE

          I hereby certify that the foregoing has been filed this 18th day of July 2019, via
  CM/ECF, which will electronically notify all counsel of record. I do certify that a copy of
  the foregoing was emailed to Plaintiff’s counsel at the following:


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                                                         /s/ Tracy A. Marion
                                                         OF COUNSEL




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